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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

  LISA SHAY,

        Plaintiff,                                     CASE NO.: 6:18-cv-01693-JA-DCI
 v.

  SMARTPAY LEASING, LLC,

        Defendant.



_____________________________________________________________________________

                           NOTICE OF PENDING SETTLEMENT


       Plaintiff, LISA SHAY, by and through her undersigned counsel, hereby submits this Notice

of Settlement and states that Plaintiff, LISA SHAY, and Defendant, SMARTPAY LEASING,

LLC, have reached a settlement with regard to this case and are presently drafting, finalizing, and

executing the settlement and dismissal documents. Upon execution of same, the parties will file

the appropriate dismissal documents with the Court.



                                               /s/Amanda J. Allen, Esq.
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on December 17, 2018, the foregoing was served using the

CM/ECF system, which will provide electronic notice of filing to all counsel of record.



                                                 /s/Amanda J. Allen, Esq.
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